lN THE CIRCUIT COURT OF LAFAYETTE COUNTY, MISSOURI

 

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CIRCUIT DIVISION I i“ d in as 1..'3 t`

 

INFORMATION rN LIEU oF INDICTMENT JAN _5 2018
STATE OF MISSOURI )
Plamtlff’ . ) Dr-./`r\iA A‘,/'::n:~.;r\-L\N \.
) m FAYETTI: ::.f)_ 1_:::"1':.;::;*- cl FP..~:§;
VS. ) CaSe NO. l6LF-CROOl30-Ol
) oCN:
Darrell L McClanahan III )
2413 Franklin Ave ) W/ M DOB: 09/15/1967
Lexington, MO 64067 ) ';
) SSNZ XXX-XX-XXXX
Defendant. )

 

 

 

 

COUNT: I

The Prosecuting Attorney for the County of Lafayette, State of Missouri, upon
information and belief, charges the defendant in violation of
Section 570.03(), RSMo, committed the class A misdemeanor of stealing by deceit, punishable
upon conviction under Sections 558.011 and 560.016, RSMo, in that on or about January 19,
2016, in the County of Lafayette, State of Missouri, the defendant appropriated US currency,
which property was in the possession of K.R., and the defendant appropriated such property
from K.R. and with the purpose to deprive him thereof by deceit in that the defendant
represented to K.R. that he sold him a trailer, which representation was false and known by the
defendant to be false and K.R. relied on the representation and was thereby induced to part with
such property.
Charge Code: 570.030-001Y20092399.0

COUNT: II

The Prosecuting Attorney for the County of Lafayette, State of Missouri, upon
information and belief, charges the defendant in violation of Section 575.150, RSMo, committed
the class A misdemeanor of resisting an arrest, punishable upon conviction under Sections
558.002 and 558.011, RSMo, in that on or about February 16, 2016, in the County of Lafayette,
State of Missouri, Chief Mark Lamphier, a law enforcement officer, Was making an arrest of
defendant for stealing, and the defendant knew that the officer was making an arrest, and, for the
purpose of preventing the officer from effecting the arrest, resisted the arrest of defendant by
using or threatening the use of violence or physical force.

Charge Code: 575.150-003Y19104899.0

RANGE OF PUNISHMENT: The range of punishment for a class A misdemeanor is
imprisonment in the county jail or other authorized penal institution for a term not to exceed one

(1) year; by a fine not to exceed one thousand dollars ($l,OO()); or by both imprisonment and a
fine. If money or property has been gained through the commission of the crime, any fine

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Darrell L McClanahan - 107019984

imposed may be not more than double the amount of the offender's gain from the commission of
the crime up to a maximum of twenty thousand dollars ($20,000).

KRISTEN ELLIS HILBRENNER, #58824
Prosecuting Attorney

County of Lafayette

WITNESSES:
Custodian of Records, , Bank of America, ,
CHF Chief Mark Lamphier, Lexington Police Department, 815 Main Street, Lexington, MO
64067
April Miller, , , ,
KR , Prosecuting Atty. Offlce, Lexington, MO 65067

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